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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                   Case Number 8:07cr168-002

                                                     USM Number 35034-013

KELLY DILL
                       Defendant
                                                     THOMAS J. GARVEY

                                                     Defendant’s Attorney
___________________________________

                               JUDGMENT IN A CRIMINAL CASE
                     (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to count I of the Indictment on August 9, 2007.

ACCORDINGLY, the court has adjudicated that the Defendant is guilty of the following offense:

                                                          Date Offense                Count
         Title, Section & Nature of Offense                Concluded                 Number


 18:2314 and 2 INTERSTATE TRANSPORTATION               March 27, 2007                    I
 OF STOLEN PROPERTY

The Defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Following the imposition of sentence, the Court advised the Defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.

IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
Defendant shall notify the court and United States attorney of any material change in the
Defendant’s economic circumstances.

                                                                  Date of Imposition of Sentence:
                                                                             November 19, 2007

                                                                        s/Laurie Smith Camp
                                                                        United States District Judge

                                                                        November 21, 2007
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                                       IMPRISONMENT

The Defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 12 months and 1 day.

The Court makes the following recommendations to the Bureau of Prisons:

1.       Defendant shall be given credit for time served pending sentencing.

2.       Defendant requests placement as close to the Colorado area as possible.

The Defendant shall surrender for service of sentence at the institution designated by the Bureau
of Prisons no earlier than 2:00 P.M. on January 18, 2008.


                             ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                            _____________________________
                                                                    Signature of Defendant

                                            RETURN

It is hereby acknowledged that the Defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the Defendant has not signed the
Acknowledgment of Receipt, above.

                                         CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the Defendant this ____ day of
_______________, ______


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                                     SUPERVISED RELEASE

Upon release from imprisonment, the Defendant shall be on supervised release for a term of 3
years.

The Defendant shall report to the probation office in the district to which the Defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The Defendant shall not commit another federal, state or local crime.

The Defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

The Defendant shall not unlawfully possess a controlled substance. The Defendant shall refrain
from any unlawful use of a controlled substance. The Defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
Defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The Defendant must comply with standard conditions that have been adopted by this court as well
as with any additional conditions on the attached page.

                             STANDARD CONDITIONS OF SUPERVISION

1.       The Defendant shall not leave the judicial district without the permission of the court or
         probation officer;
2.       The Defendant shall report to the probation officer and shall submit a truthful and complete
         written report within the first five days of each month;
3.       The Defendant shall answer truthfully all inquiries by the probation officer and follow the
         instructions of the probation officer;
4.       The Defendant shall support his or her dependents and meet other family responsibilities;
5.       The Defendant shall work regularly at a lawful occupation, unless excused by the probation
         officer for schooling, training, or other acceptable reasons;
6.       The Defendant shall notify the probation officer at least ten days prior to any change in
         residence or employment;
7.       The Defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
         use, distribute, or administer any controlled substance or any paraphernalia related to any
         controlled substances, except as prescribed by a physician;
8.       The Defendant shall not frequent places where controlled substances are illegally sold,
         used, distributed, or administered;
9.       The Defendant shall not associate with any persons engaged in criminal activity and shall
         not associate with any person convicted of a felony, unless granted permission to do so by
         the probation officer;
10.      The Defendant shall permit a probation officer to visit him or her at any time at home or
         elsewhere and shall permit confiscation of any contraband observed in plain view of the
         probation officer;
11.      The Defendant shall notify the probation officer within seventy-two hours of being arrested
         or questioned by a law enforcement officer;
12.      The Defendant shall not enter into any agreement to act as an informer or a special agent
         of a law enforcement agency without the permission of the court;
13.      As directed by the probation officer, the Defendant shall notify third parties of risks that may
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         be occasioned by the Defendant’s criminal record or personal history or characteristics and
         shall permit the probation officer to make such notifications and to confirm the Defendant’s
         compliance with such notification requirement.



                              SPECIAL CONDITIONS OF SUPERVISION


1.       The Defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant
         to the Public Law 108-405 (Revised DNA Collection Requirements Under the Justice for All Act of
         2004), if such sample was not collected during imprisonment.

2.       The Defendant shall submit his or her person, residence, office, or vehicle to a search conducted by
         a United States Probation Officer at any time; failure to submit to a search may be grounds for
         revocation; the Defendant shall warn any other residents that the premises may be subject to
         searches pursuant to this condition.

3.       The Defendant shall provide the probation officer with access to any requested financial information.

4.       Pursuant to 18 U.S.C. § 3583 (d), regarding drug testing within 15 days of release on supervised
         release and at least two periodic drug tests thereafter , is suspended until further order of the court
         because the Presentence Investigation Report on the Defendant and other reliable sentencing
         information indicates a low risk of future substance abuse by the Defendant.

5.       The Defendant shall maintain proper debit, credit, and receipt ledgers for all business and personal
         transactions. These records shall be made available as requested by the probation officer.

6.       Defendant shall not make application for any loan, enter into any credit arrangement, or enter into any
         residential or business lease agreement without approval of the probation office.

7.       The Defendant is prohibited from incurring new credit charges or opening additional lines of credit
         without prior written approval of the probation oficer.

8.       The Defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of
         Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza, Suite C79, Omaha,
         Nebraska, (402) 661-7555, within seventy-two (72) hours of release from confinement, and,
         thereafter, as directed by the probation officer.
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                             CRIMINAL MONETARY PENALTIES


       The Defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

        Total Assessment                    Total Fine                    Total Restitution

               $100.00                                                       $98,166.58

                                              FINE

         No fine imposed.

                                          RESTITUTION

         Restitution in the amount of $98,166.58 is hereby ordered. The Defendant shall make
restitution to the following payees in the amounts listed below.

         If the Defendant makes a partial payment, each payee shall receive an approximately
proportional payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid in
full prior to the United States receiving payment.

                                                                               Priority Order
                             **Total Amount            Amount of               or Percentage
      Name of Payee              of Loss           Restitution Ordered          of Payment

 Telecheck                     $10,235.16                $10235.16                 Priority
                                                                            Order/Percentage

 Advance Stores Inc.             $43.97                   $43.97                   Priority
                                                                            Order/Percentage

 Auto Zone Corporate            $589.33                   $589.33                  Priority
 Office                                                                     Order/Percentage

 Carlton Cards                  $419.28                   $419.28                  Priority
 Corporate Office                                                           Order/Percentage

 Compass Bank                   $151.85                   151.85                   Priority
                                                                            Order/Percentage

 Cost Cutters                    $17.95                   $17.95                   Priority
                                                                            Order/Percentage

 CVS Corporation                $2178.78                 $2178.78                  Priority
                                                                            Order/Percentage

 Dollar Tree Corporate           $71.16                   $71.16                   Priority
 Headquarters                                                               Order/Percentage

 Eckerd Drug Company            $869.73                   $869.73                  Priority
                                                                            Order/Percentage
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 Express Women’s                   $1203.76                   $1203.76                   Priority
                                                                                  Order/Percentage

 Farm Fresh                         $385.13                    $385.13                   Priority
                                                                                  Order/Percentage

 Food City                          $239.45                    $239.45                   Priority
                                                                                  Order/Percentage

 Ivan’s Outlet # 33                 $841.65                    $841.65                   Priority
                                                                                  Order/Percentage

 Linens N Things                    $141.54                    $141.54                   Priority
                                                                                  Order/Percentage

 Longs Drug Stores of               $44.42                     $44.42                    Priority
 California                                                                       Order/Percentage

 Nike, Inc.                         $16.04                     $16.04                    Priority
                                                                                  Order/Percentage

 PCA International                  $444.46                    $444.46                   Priority
                                                                                  Order/Percentage

 Pep Boys                           $340.95                    $340.95                   Priority
                                                                                  Order/Percentage

 Pizza Hut                          $59.99                     $59.99                    Priority
                                                                                  Order/Percentage

 Ripley’s Aquarium                  $177.02                    $177.02                   Priority
                                                                                  Order/Percentage

 Sam’s Club                        $54516.89                  $54516.89                  Priority
                                                                                  Order/Percentage

 Super Fresh                       $1762.96                   $1762.96                   Priority
                                                                                  Order/Percentage

 The Children’s Place               $56.01                     $56.01                    Priority
                                                                                  Order/Percentage

 Victoria’s Secret                  $272.26                    $272.26                   Priority
                                                                                  Order/Percentage

 Vitamin World                      $47.53                     $47.53                    Priority
                                                                                  Order/Percentage

 Von’s Old Items                    $171.64                    $171.64                   Priority
                                                                                  Order/Percentage

 Walmart                          $22,139.34                 $22,139.34                  Priority
                                                                                  Order/Percentage

 Wawa, Inc.                         $728.43                    $728.43                   Priority
                                                                                  Order/Percentage

 Totals                           $98,166.68                 $98,166.68

**Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18,
United States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.
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                                     SCHEDULE OF PAYMENTS
The Defendant shall pay the special assessment in the amount of $100.00.

The criminal monetary penalty is due in full on the date of the judgment. The Defendant is
obligated to pay said sum immediately if he or she has the capacity to do so. The United States
of America may institute civil collection proceedings at any time to satisfy all or any portion of the
criminal monetary penalty.

Without limiting the foregoing, and during the Defendant’s term of incarceration, the Defendant
shall participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such
Program, the Defendant shall pay 50% of the available inmate institutional funds per quarter
towards the criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the Defendant shall make
payments to satisfy the criminal monetary penalty in the following manner: (a) monthly installments
of $100 or 3% of the Defendant’s gross income, whichever is greater; (b) the first payment shall
commence 30 days following the Defendant’s discharge from incarceration, and continue until the
criminal monetary penalty is paid in full; and (c) the Defendant shall be responsible for providing
proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following
order of priority: special assessment; restitution; fine; and other penalties. Unless otherwise
specifically ordered, all criminal monetary penalty payments, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to the clerk
of the Court. Unless otherwise specifically ordered, interest shall not accrue on the criminal
monetary penalty.

The Defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The Defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court.

The Defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.

 Restitution is hereby ordered jointly and severally with: Tracy Dill, 8:07cr168 in the amount of
$98,166.58.

CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
